EXHIBIT J
Fitbit One Review: A Great Way to
Monitor Your Wretched Laziness
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Last month we reviewed the Fitbit Zip, which was basically a glorified
pedometer. The Fitbit One is the Zip's big brother, and successor to
the very popular Ultra line. Is the feature-filled gadget worth a
hundred bucks?

                       Fitbit Zip Review: The Tiny Anti-Flab Motivator
                       I've been walking around with a Fitbit Zip in my pocket
                       for the last week, most of the time…
What Is It?

It's a tiny fitness monitor that counts the steps you take, the stairs
you climb, and the calories you burn, and even tracks the quality of
your sleep.

Who's it For?

People who want data about how much exercise they get throughout
the day.

Design

It's a smooth, oblong pebble. One button lights up the LED screen
and allows you to scroll through your stats. It comes with a clip you
wear while working out, and a wrist band for wearing it as you sleep.


Using It

Just carry it all day and it'll track your activity. The data wirelessly
syncs when you're near your computer, and then you can view all
sorts of charts and graphs online. You wear the One in a wristband as
you sleep—just start the timer when you lie down and stop it when
you wake up.

The Best Part

The altimeter. Other fitness monitors count steps. But a step on level
ground is not the same as going up stairs or climbing a hill. The Fitbit
One's altimeter considers that and estimates the calories burned.
Tragic Flaw

The sleep monitoring is buggy. If you don't manually input the times,
it guesses. One day, it said I went to bed at 8:07pm and woke up at
noon the next day. I wish. (In fact, I was out at a bar until 3:00am
and then got up at 7:40am.) Yet I couldn't manually input my actual
sleep times.


Update: You can manually start/stop sleep tracking by long-pressing
the button. That's nice, but A) it's very easy to forgot to start and/or
stop it, especially when sleepy, and B) it's indistinguishable from the
stopwatch feature, which is kind of weird. We prefer a system that
just knows when you've gone to sleep and knows when you've
gotten up, like the Basis B1 band.

This Is Weird...

You can set a silent alarm that'll wake you up but leave your bedmate
undisturbed. Set the time online, sync it, put the One in the
wristband, and pass out. A series of vibrating pulses shakes your wrist
when it's time to rise and shine. I thought I'd fallen asleep with my
phone in my hand—but it successfully woke me up without rousing
my girlfriend. Weird, but cool.

Test Notes

·   Because it isn't attached to your body (like, the Nike Fuelband)
    it's easy to forget to keep it on you. Every time I changed pants, I
    forgot to switch it out. For tracking sleep, you need to take it out
    of your pocket, put on a wrist band, then put it in the wrist band,
    then start recording. It can be a nuisance.

·   Paradoxically, the fact that you don't wear it could also be a
    major selling point to some. People who dress up a lot might not
    want to have a funky rubber bracelet on all the time.

·   We really like the design. The aluminum backplate makes it feel
    extremely solid. The button has nice click to it, but it doesn't feel
    like it will be accidentally depressed in your pocket.

·   One of the biggest advances is the display. It's a lot brighter and
    more pixel dense than the Fitbit Ultra was, which greatly
    improves readability.

·   You can also track data with smartphone apps. The iPhone 4S
    and 5 can sync data directly with the One. The Android app can't
    sync directly with the One (because no Android devices currently
    support the low-power Bluetooth protocol), but you can use it to
    view your data, add meals, and stuff like that. Both apps are very
    good looking.

·   Another weird thing about sleep monitoring: You can select
    Normal or Sensitive modes. On Normal, it thinks I'm fully asleep
    92 percent of the time that I'm in bed. On Sensitive, it thinks I'm
    only asleep 52 percent of that time! The truth has got to lie
    somewhere in between, but that's such a gigantic margin of
    error one has to assume this data is essentially unusable. Major
     bummer, as this was the feature I was most looking forward to.

 ·   Really solid battery life. You should get close to a week of use on
     a single charge, and it charges quickly with the included USB
     adapter.

 ·   The screens in the app are: Steps, Distance, Calories burned,
     Floors climbed, a Clock, and a handy stopwatch that you can
     start/stop by long-pressing the button. A little Flower grows and
     shrinks based on your recent activity. It also displays a greeting
     when you pick it up. Adorable.

 ·   The Fitbit dashboard on the website is really a mess to navigate.
     Things are not intuitively laid out. For example, to add an alarm,
     you have to know to click on your device, go into the settings,
     and then find the alarm. It's visually pleasing, but it needs some
     reorganizing.

 ·   Through the website, you can choose to have all your data auto-
     sync to other programs like RunKeeper, Endomondo, and others.


Should You Buy It?

If you're considering the Fitbit Zip, then sure. It's certainly better,
due to the altimeter, improved screen, and recharability. And the
silent alarm is a cool feature. It's also $40 more, but the $40 is worth
it for the added functionality. And it's $50 less than the Fuelband.


As for the flaws, to be fair, the device doesn't ship until early
November, and they have been sending out firmware updates
throughout the last week. In other words the sleep functions may get
better. Even if they don't, though, this is still a pretty decent piece of
kit. [Fitbit]

Fitbit One Specs
• Radio: Bluetooth 4.0
• Size: 1.89 x 0.76 x 0.38 inches
• Weight: 0.28 oz. (8 grams)
• Screen: LED
• Colors: Black, Burgundy
• Splash-proof: Yes
• Battery: Rechargeable Li-Po
• Price: $100
• Giz Rank: 3.5 stars



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